 

Case 2:20-cr-20274-AJT-EAS ECF No. 11, PagelD.24 Filed 06/25/20 Page 1 of 4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

, . Case:2:20-cr-20274
United States of America, Judge: Tarnow, Arthur J.

MJ: Stafford, Elizabeth A.
Plaintiff, Filed: 06-25-2020 At 09:53 AM
INDI USA V. RIZZIO (DA)

Vv.

 

Violations:
18 U.S.C. § 922(a)(1)(A)
Charles Joseph Kimbrough Rizzio, 18 U.S.C. § 922(0)
26 U.S.C. § 5861(e)
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. § 922(a)(1)(A) - Dealing Firearms without a License

From on or about June 8, 2017, to on or about June 8, 2020, in the Eastern
District of Michigan, and elsewhere, the defendant, Charles Joseph Kimbrough
Rizzio, did willfully engage in the business of dealing in firearms, in violation of
Title 18, United States Code, Section 922(a)(1)(A).

COUNT TWO
18 U.S.C. § 922(0) - Illegal Possession and Transfer of a Machine Gun
On or about May 28, 2020, in the Eastern District of Michigan, the

defendant, Charles Joseph Kimbrough Rizzio, did knowingly and unlawfully

 

 

 
 

Case 2:20-cr-20274-AJT-EAS ECF No. 11, PagelD.25 Filed 06/25/20 Page 2 of 4

possess and transfer a machinegun, that is, a JL & Company LTD Sten MK II 9mm
submachine gun, in violation of Title 18, United States Code, Section 922(0).
COUNT THREE

26 U.S.C. § 5861(e) - Transferring an NFA Firearm
in Violation of the NFA

On or about May 28, 2020, in the Eastern District of Michigan, and elsewhere,
defendant, Charles Joseph Kimbrough Rizzio, did knowingly and unlawfully
transfer a firearm, that is, a JL & Company LTD Sten MK II 9mm submachine
gun, in violation of Title 26, United States Code, Section 5861(e).

FORFEITURE ALLEGATION

The allegations contained in this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,
United States Code, Section 924(d) and Title 28 United States Code, Section
2461(c).

Upon conviction of the offenses set forth in Counts One and Two of this
Indictment, the defendant, shall forfeit to the United States, pursuant to Title 18,
United States Code, Section 924(d), and Title 28 United States Code, Section
2461(c), any firearm and ammunition involved in or used in the knowing

commission of the offenses.

 
Case 2:20-cr-20274-AJT-EAS ECF No. 11, PagelD.26 Filed 06/25/20 Page 3 of 4

THIS IS A TRUE BILL

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

MATTHEW SCHNEIDER
United States Attorney

MATTHEW A. ROTH
Chief, General Crimes Unit

s/Erin Ramamurthy

ERIN RAMAMURTHY
Assistant United States Attorney

Dated: June 25, 2020
 

Case 2:20-cr-20274-AJT-EAS ECF No. 11, PagelD.27 Filed 06/25/20 Page 4 of 4

: —— —_ Case:2:20-cr-20274
United States District Court Criminal Case Cov Judge: Tarnow, Arthur J.
Eastern District of Michigan MJ: Stafford. Elizabeth A
Filed: 06-25-2020 At 09:53 AM
INDI USA V. RIZZIO (DA)

|Case Information === ~—~—_—_._| Companion Case Number:

 

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it acc

 

| Companior

 

This may be a companion case based on LCrR 57.10(b)(4)1:

 

 

 

OYes MINo AUSA’s Initials: ELK

 

 

”

Case Title: USA v. Charles Joseph Kimbrough Rizzio
County where offense occurred: Wayne
Offense Type: Felony

Indictment -- based upon prior complaint [Case number: 20-mj-30190]

-Superseding Case Information

 

 

 

Superseding to Case No: Judge:
Reason:
Defendant Name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

June 25, 2020 «

 

 

Date Erin Ramamurthy
Assistant United States Attorney
211 W. Fort Street, Suite 2001
Detroit, MI 48226
erin.ramamurthy@usdoj.gov
(313) 226-9788
Bar #: P81645

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.

 
